 

- fw¢:.w: 7@¢_4.7_:.;$ 7777‘;___7 A`___7 7

ease 1:05-cr-o0278'-'6}€3§“'=nw§:$"cumem §§ Filed 10/1'8/§?)$65 ' _F>é{'ge'“{ of 1"'

clc-526 3 `
(12/36}

'* . . -_ F§LED

UN:TED STATES DISTRICT coURT UC`E` 1 8 2905

FOR`THE DISTRICT'OF COLUMBIA
_ NRNSY M.F¢.YER WH§TF!NGIDN, CLERK

U.S. DlSTH|CT COURT

§ .
vs. _ § Criminal No.- § § ‘£7?*@3 ((:£/C,)
/Mzc“¢za!! LM \_zacésm §

‘WA_IVER OF TRIAL BY JURY

UNITED S`TA'IES O`F AHERICA

With- the consent of the United States Attorney and the

approval of the Court, the defendant waives his right to`trial

by jury .

 

 

Counsel- for defendant

 

 

Un@ States Attorney
Approved:

we me

Judge ‘

